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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                          Case No. 22-cv-21211-BLOOM/Otazo-Reyes

 HERBER MANCILLA,
 individually and on behalf of
 all others similarly situated,

        Plaintiff,

 v.

 GR OPCO, LLC,
 doing business as
 E11EVEN MIAMI,

       Defendant.
 _________________________/

                            ORDER SETTING MOTION HEARING

        THIS CAUSE is before the Court upon a sua sponte review of the record. Defendant has

 filed a Motion to Dismiss Class Action Complaint, ECF No. [12]. Plaintiff subsequently filed a

 Response in Opposition, ECF No. [16], to which Defendant replied, ECF No. [21].

        Accordingly, it is ORDERED AND ADJUDGED that a Motion Hearing on ECF No.

 [12] shall be conducted on July 11, 2022, at 9:00 a.m. in Courtroom 10-2 at the Wilkie D.

 Ferguson, Jr. United States Courthouse, 400 North Miami Avenue, Miami, Florida 33128.

        DONE AND ORDERED in Chambers at Miami, Florida, on June 7, 2022.




                                                      _________________________________
                                                      BETH BLOOM
                                                      UNITED STATES DISTRICT JUDGE
 Copies to:

 Counsel of Record
